 8:08-cr-00377-LSC-FG3            Doc # 61   Filed: 07/01/09   Page 1 of 1 - Page ID # 111




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )             Case No. 8:08CR377
                                             )
              v.                             )
                                             )       REPORT AND RECOMMENDATION
THOMAS E. BRYANT and                         )               AND ORDER
JONATHAN M. BALES,                           )
                                             )
                     Defendants.             )


       At the conclusion of the hearing on June 26, 2009, on defendants' Motions to
Suppress [32], [34], and [36], I stated my conclusions on the record and my decision to
recommend that the motions to suppress be denied.                 In accordance with that
announcement,
       IT IS RECOMMENDED to the Honorable Laurie Smith Camp, United States District
Judge, that the Motions to Suppress [32], [34], and [36] be denied in all respects.
       FURTHER, IT IS ORDERED:
       1.     The clerk shall cause an expedited transcript of the hearing to be prepared
and filed.
       2.     Pursuant    to      NECrimR    57.3,   any   objection   to   this   Report   and
Recommendation shall be filed with the Clerk of the Court within ten (10) days after the
unredacted transcript is available to counsel. Failure to timely object may constitute a
waiver of any such objection. The brief in support of any objection shall be filed at the time
of filing such objection. Failure to file a brief in support of any objection may be deemed
an abandonment of the objection.
       Dated this 1st day of July 2009.

                                             BY THE COURT:


                                             S/ F.A. Gossett
                                             United States Magistrate Judge
